           Case 1:21-mj-00296-GMH Document 16-2 Filed 03/26/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                               Case No. 21-MJ-00296 (GMH)
       -v-
CHRISTOPHER WORRELL,                             DECLARATION OF JOHN M.
                                                 PIERCE IN SUPPORT OF
                Defendant.                       EMERGENCY MOTION FOR
                                                 RECONSIDERATION


       I, John M. Pierce, hereby certify under penalty of perjury that the following is true and

correct:

       1.       I am the Managing Partner with the law firm Pierce Bainbridge P.C., located 355

Grand Avenue, 44th Floor, Los Angeles, CA 90071.

       2.       I am an attorney at law admitted to practice before this Court.

       3.       I am associated with the law firm Pierce Bainbridge P.C., attorneys for Defendant

Christopher Worrell, and am familiar with the facts of this case.

       4.       A true and correct copy of Order of Detention Pending Trial Bail, dated March 19,

2021, (Dkt. No. 13), is attached hereto as Exhibit A.

       5.       A true and correct copy of Dr. Bino Rucker, M.D.’s affidavit is attached hereto as

Exhibit B.

       6.       A true and correct copy of Government Bail Report, dated March 12, 2021, is

attached hereto as Exhibit C.

       7.       A true and correct copy of Video Captured by Defendant Christopher Worrell, on

January 6, 2021, is attached hereto Exhibit D.

I declare under penalty of perjury that the foregoing is true and correct.
       Case 1:21-mj-00296-GMH Document 16-2 Filed 03/26/21 Page 2 of 2




Dated: March 26, 2021
                                   _________________________________
                                   John M. Pierce
                                   PIERCE BAINBRIDGE P.C.
                                   355 Grand Street, 44th Floor
                                   Los Angeles, CA 90071
                                   tel: (213) 262-9333
